914 F.2d 248Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ardie D. NOLAN, III, Plaintiff-Appellant,v.Ernest R. SUTTON, Ernest Griffin, Sergeant, Defendants-Appellees.
    No. 90-6534.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 17, 1990.Decided Sept. 17, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Franklin T. Dupree, Jr., Senior District Judge.  (CA-88-836-CRT)
      Ardie D. Nolan, III, appellant pro se.
      Lucien Capone, III, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before MURNAGHAN, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ardie D. Nolan, III, appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Nolan v. Sutton, CA-88-836-CRT (E.D.N.C. Jan. 16, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    